                Case 2:20-cr-00032-JCC Document 134 Filed 10/19/20 Page 1 of 2




                                                       THE HONORABLE JOHN C. COUGHENOUR
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                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9   UNITED STATES OF AMERICA,                                 CASE NO. CR20-0032-JCC
10                               Plaintiff,                    ORDER
11             v.

12   JOHNNY ROMAN GARZA,

13                               Defendant.
14

15             This matter comes before the Court on Defendant’s motion for a remote hearing (Dkt.
16   No. 133). Having thoroughly considered Defendant’s briefing and the relevant record, the Court
17   finds oral argument unnecessary and hereby GRANTS the motion for the reasons explained
18   herein.
19             Defendant pled guilty to conspiracy to mail threatening communications, to commit
20   stalking, and to interfere with federally protected activities. (Dkt. Nos. 94, 114, 116.)
21   Defendant’s sentencing hearing is scheduled for December 8, 2020. (Dkt. No. 114.) The Court
22   may conduct a felony sentencing hearing by video conference if the Court finds that the
23   sentencing cannot be further delayed without serious harm to the interests of justice. See W.D.
24   Wash., General Order No. 14-20 (Sept. 24, 2020), 04-20 (Mar. 30, 2020). Defendant moves to
25   conduct his sentencing hearing remotely, describing the dangers inherent in traveling from his
26   residence in Arizona for sentencing in light of the current pandemic and his desire to proceed


     ORDER
     CR20-0032-JCC
     PAGE - 1
              Case 2:20-cr-00032-JCC Document 134 Filed 10/19/20 Page 2 of 2




 1   with sentencing now in order to begin to make amends for his actions. (Dkt. No. 133.) On this

 2   record, the Court FINDS that Defendant’s sentencing “cannot be further delayed without serious

 3   harm to the interests of justice.” W.D. Wash., General Order 04-20, at 2–3 (Mar. 30, 2020).

 4          For the foregoing reasons, Defendant’s motion to conduct his sentencing hearing via

 5   video or teleconference (Dkt. No. 133) is GRANTED.

 6          DATED this 19th day of October 2020.




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                                                         John C. Coughenour
10                                                       UNITED STATES DISTRICT JUDGE
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     ORDER
     CR20-0032-JCC
     PAGE - 2
